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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 1:21-cv-21079-BB


   SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,
   v.

   MINTBROKER INTERNATIONAL, LTD.,
   f/k/a SWISS AMERICA SECURITIES LTD.
   and d/b/a SURETRADER, and
   GUY GENTILE, a/k/a GUY GENTILE NIGRO,

         Defendants.



  DEFENDANT GUY GENTILE’S MOTION FOR INVOLUNTARY DISMISSAL UNDER
   RULE 41, THE COURT’S INHERENT AUTHORITY, AND RULE 16, AND IN THE
            ALTERNATIVE, MOTION TO STRIKE CERTAIN EXHIBITS




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  II.     Gentile seeks attorney’s fees for time spent reviewing the SEC’s 286 exhibits to
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                                  PRELIMINARY STATEMENT

         The SEC filed its Complaint on March 22, 2021. Compl. [ECF No. 1]. The filing

  followed more than seven years after the formal order of investigation that purportedly gave rise

  to this case, but just months after the SEC had tried for years unsuccessfully to punish Gentile in

  an enforcement action in the District of New Jersey for his alleged involvement in two pump and

  dump schemes in 2007 and 2008. See id. ¶ 19 (citing New Jersey cases). Through those cases,

  the SEC sought to obtain injunctions based on Gentile’s operation of his Bahamian broker-

  dealer, SureTrader, for which the SEC also seeks injunctions for the same conduct in the instant

  case. The SEC’s 2016 case was ultimately dismissed on a finding that the injunctions were not

  equitable but served a punitive purpose and therefore could not be issued under the Court’s

  equity powers. The same legal defect plagues the instant case, which was filed just months after

  the dismissal of the New Jersey case and purports to seek injunctive relief against future

  registration violations by a broker-dealer that closed down five years ago and against Gentile

  who has been de facto enjoined from doing so for nearly a decade as a result of the SEC’s

  dilatory attempted prosecutions of him.

         This case has always been less about the merits of the narrow dispute in question—

  whether SureTrader’s myriad practices and policies designed to deter U.S. persons from opening

  accounts satisfy the regulatory exemption for effecting transactions in securities with U.S.

  persons who have not been “solicited,” or at the least establish Gentile’s good faith to meet the

  exemption—and more about the SEC’s relentless desire to punish him for conduct from 17 years

  ago. That is why, for much of this case, including through a half dozen extensions of the

  discovery deadline sought by the SEC following a nearly eight-year investigation, the SEC has

  shown no real interest in moving towards trial. With the overhang of this ongoing litigation, the




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  SEC has been able to continue to drain Gentile’s resources and effectively achieve the punitive,

  injunctive relief it seeks.

          On January 31, 2024, however, the Court made clear that furthers delays would not be

  countenanced:

          As you can see, we are in the middle of a very long trial; however, I did set this for
          a status conference, as it is a 2021 case. It was filed on March 22nd of 2021. This
          Court, as recent as December 1st, entered its sixth order amending the schedule
          order and certain pretrial deadlines . . . . I want to manage this case by saying
          emphatically that this case is going to be tried in June.

  See Jan. 31, 2024 Status Conf. Tr. 2:16–3:1 [ECF No. 219]. Accordingly, the parties proceeded

  to file pretrial motions in limine, and the SEC moved for summary judgment, but failed to take

  basic steps to prepare for trial, such as seeking issuance of letters rogatory to compel testimony

  of Bahamian individuals whose incomplete and inaccurate depositions the SEC now seeks to

  read to the jury.

          In connection with the motions in limine, the parties sought to resolve a handful of issues

  without Court intervention, ostensibly to facilitate efficient preparation for trial. More

  specifically, on March 15, 2024, the parties filed a Joint Notice of Partial Resolution of Motions

  in Limine (“Joint Notice”) [ECF No. 244]. Therein, it was agreed: “No party shall mention any

  of the prior SEC or Department of Justice (‘DOJ’) investigations, and resulting court cases in the

  District of New Jersey, or that Gentile was a cooperator for the FBI or DOJ,” Joint Notice 1; see

  also id. at 3 (same). The Joint Notice also made clear:

          Gentile intends to introduce the Wells Submission he submitted to FINRA detailing
          his compliance with all non-solicitation rules and FINRA’s decision to close its
          investigation with no further action. The SEC opposes the introduction of the Wells
          submission, but the parties agree that if the court admits this evidence, neither side
          will mention that the Wells was provided in connection with his cooperation with
          the DOJ, only that it was provided.

  Id. at 3.



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         Against the backdrop of the parties’ March 15, 2024 agreement in their Joint Notice not

  to mention the prior New Jersey cases, on May 13, 2024, the SEC filed designations of

  deposition testimony for all ten witnesses deposed in this case. [ECF No. 257].1 As summarized

  below, the SEC now seeks to introduce the entire deposition transcripts as exhibits, which

  include dozens of references to the New Jersey cases and Gentile’s work as an informant.

         Subsequently, in advance of the then-upcoming deadline to file a pretrial stipulation,

  exhibit lists, witness lists, and the other items required by the Court’s Scheduling Order, the

  parties exchanged draft exhibit lists on May 22, 2024. Final exhibit lists were due on June 4,

  2024, and the Court ordered the parties to meet and confer about objections to these lists no later

  than Friday June 7, 2024. Similar to the deposition designations, the SEC’s exhibit list included

  numerous documents expressly referencing the New Jersey cases and Gentile’s cooperation,

  many of which appear to serve no apparent purpose other than to get before the jury this

  excluded evidence.

         On May 21, 2024, the Court issued its Omnibus Order denying the SEC’s Motion for

  Summary Judgment on all counts and resolving other issues raised by the motions in limine that

  were outstanding. [See ECF No. 264]. In doing so, the Court explained:

         Following their Joint Notice of Partial Resolution of Motions in Limine, the Parties
         agree that no party shall mention any of the prior SEC or Department of Justice
         (“DOJ”) investigations, and resulting court cases in the District of New Jersey, or
         that Gentile was a cooperator for the FBI or DOJ.

  Id. at 37. The Court continued:

         The Court agrees with the SEC that the prior investigation and non-prosecution of
         Gentile related to an unrelated pump and dump scheme should be excluded. It
         occurred in 2007 and 2008 before the formation of SureTrader in 2011. ECF No.
         [220] at 6. As such, the evidence of prior investigations and non-prosecution relate

  1
   To the extent any of the SEC’s witnesses will not appear live for trial, Gentile reiterates his
  objection to use of deposition testimony in lieu of live testimony. [See ECF No. 261].


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           to an entirely different scheme and fails to satisfy Rule 401’s low threshold for
           relevant evidence. Such evidence does not have “any tendency to make a fact more
           or less probable than it would be without the evidence” and it is not “of consequence
           in determining the action.” Fed. R. Evid. 401. It is “irrelevant evidence” and is
           accordingly not admissible. See Fed. R. Evid. 402.

  Id. at 38.2

           The next day, on May 22, 2024, the parties met and conferred regarding issues to be

  resolved in connection with the joint pretrial filing to be made with the Court in advance of

  Calendar Call scheduled for June 4, 2024, which included the parties’ exhibit lists. During the

  meet and confer, counsel for Gentile protested that the SEC’s exhibit list still included many

  exhibits that were inadmissible under the parties’ agreement and the Court’s Omnibus Order,

  including exhibits referencing Gentile’s prior criminal indictment. Later in the day, and without

  sufficient time for review by Gentile’s counsel prior to filing, the SEC added approximately 80

  exhibits to its list, which was then filed with the Court on the understanding that Gentile had

  preserved all possible objections. [ECF No. 266-1]. On May 30, 2024, the SEC filed a Motion

  for Clarification of the Court’s Omnibus Order [ECF No. 268], which necessitated a response

  from Gentile about why no such “clarification” was necessary, [ECF No. 269], as well as a

  ruling from the Court. [ECF No. 272]. The order reaffirmed the prior rulings excluding evidence

  related to the New Jersey investigations and Gentile’s cooperation while permitting Gentile to

  introduce evidence of the FINRA and the SEC’s assurance that SureTrader was in compliance

  with the registration exemption for foreign broker-dealers.

           At Calendar Call on June 4, 2024, the Court explained that trial would begin at 9:30 am

  on Monday, June 10, 2024, and that the schedule would include some half-days, as well as some




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      Gentile maintains the evidence is also inadmissible under Rules 403 and 404(b).


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  days when trial would not be held. See Calendar Call Tr. 3:13–4:24 [ECF No. 285]. The Court

  indicated:

         . . . I would hope that we would be able to have the case to the jury on June 25th. I
         am letting you know, at this time, that after June 26th I cannot devote any more
         time to this trial. So I’ve given you -- that would take us to eight days, if we take
         off June 26th. And my hope is that we can work very hard and try this case within
         that time.

  See id. at 5:19–25; see also id. at 41:13–17 (“[E]ven looking at the Plaintiff’s exhibits …

  obviously, they’ll be electronically submitted to the jury, but we have 286 exhibits. So … this is

  going to be a very lengthy trial, and we’re going to compress it within an eight-day period.”).

         On Thursday, June 6, 2024, the parties met and conferred for approximately three hours

  regarding exhibits and other pretrial housekeeping issues, with counsel for Gentile again

  reiterating their concerns about the volume of the SEC’s planned exhibits and highlighting

  various issues with their admissibility. The parties tentatively agreed to exchange further

  revisions to objections to exhibit lists by Sunday, June 9, 2024. Counsel for Gentile also raised

  with the SEC at the meet and confer, raise here in this filing, and intend to raise again on the

  record that Gentile demands equal time to present his case, including because of the seriousness

  of the permanent injunction the SEC seeks if there is any finding of liability and because he

  bears the burden of proof on his good-faith defense. The SEC has taken the position that it

  should be entitled to all but one day of trial to present its case. The next day, Friday, June 7,

  2024, unfortunate circumstances pushed the beginning of trial back to Wednesday June 12, 2024.

         Amidst the foregoing, counsel for Gentile have been working diligently to prepare for

  trial and have had to waste significant resources scouring the SEC’s 286 exhibits to ensure

  references to the New Jersey cases and Gentile’s cooperation are not backdoored into evidence.

  A stray reference here or there may suggest only negligence, but counsel for Gentile have




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  identified over 20 exhibits still on the SEC’s list, many if not most of which include several

  references to material that should not be put before the jury, suggesting that these exhibits have

  been either intentionally included or the SEC recklessly failed to review its exhibits prior

  transmitting them to Gentile’s counsel.

         On Saturday, June 8, 2024, the SEC transmitted a redacted copy of a single exhibit. Far

  from curing the SEC’s violation of the Court’s orders, the redaction would most likely serve to

  prompt a juror to research Gentile on the internet to uncover the prior cases and his work as an

  informant. On Sunday, June 9, 2024, the SEC sent along another single exhibit presenting the

  same issues as the exhibit transmitted the day before. Gentile preserves all his objections to these

  kinds of exhibits (as well as many others that are plainly inadmissible for various reasons). These

  include dozens of documents related to a Securities Commission of the Bahamas investigation

  that arose in response to the New Jersey cases as well as documents that cannot be authenticated,

  including customer applications dated after SureTrader closed down and for which the customer

  has not been included in the SEC’s witness list or initial disclosures. Unfortunately, wading

  through each of them at trial will be a significant drain on the Court’s resources and is sure to

  irritate the jury. It will likely result in hours spent in tedious and unnecessary sidebars.

         The SEC’s attempt to get certain exhibits before the jury violates the parties’ agreement,

  the Court’s Omnibus Order, and the Federal Rules of Evidence. As explained below, dismissal of

  the action is warranted under Rule 41(b), the Court’s inherent authority, and/or Rule 16(f).

                                         LEGAL STANDARD

         “A district court has inherent authority to manage its own docket ‘so as to achieve the

  orderly and expeditious disposition of cases.’” Equity Lifestyle Props., Inc. v. Fla. Mowing And

  Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (quoting Chambers v. NASCO, Inc.,




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  501 U.S. 32, 43 (1991)). “The court may dismiss a claim if the plaintiff fails to prosecute it or

  comply with a court order.” Id. (citing Fed. R .Civ. P. 41(b)). “The power to invoke this sanction

  is necessary in order to prevent undue delays in the disposition of pending cases and to avoid

  congestion in the calendars of the District Court.” Id. (quoting Durham v. Fla. East Coast Ry.

  Co., 385 F.2d 366, 367 (5th Cir. 1967)).

         In a similar vein, “[s]anctions under Rule 16(f) were designed to ‘punish lawyers and

  parties for conduct which unreasonably delays or otherwise interferes with the expeditious

  management of trial preparation.’” Ulysse v. Waste Mgmt. Inc., No. 11-CV-80723, 2014 WL

  11429061, at *2 (S.D. Fla. Jan. 10, 2014) (quoting Goforth v. Owens, 766 F.2d 1533, 1535 (11th

  Cir. 1985)). “While dismissal under Rule 16(f) is a sanction of last resort, such a sanction is

  appropriate to punish an attorney for disregard of the court’s orders affecting his readiness for

  trial.” Id. (citing Goforth, 766 F.2d at 1535); see also, e.g., Granados v. Palm Coast Bldg.

  Maint., Inc., No. 20-CV-81917-RAR, 2021 WL 1617689, at *4 (S.D. Fla. Jan. 26, 2021) (same).

         “Whether to dismiss a complaint for failure to comply with an order of the court is a

  matter committed to the district court’s discretion.” Equity Lifestyle Props., Inc., 556 F.3d 1232,

  1240 n.14 (11th Cir. 2009) (citing Gratton v. Great Am. Commc’ns, 178 F.3d 1373, 1374 (11th

  Cir. 1999)). “Discretion means the district court has a range of choice, and that its decision will

  not be disturbed as long as it stays within that range and is not influenced by any mistake of

  law.” Zocaras v. Castro, 465 F.3d 479, 483 (11th Cir. 2006) (citation omitted) (affirming

  dismissal under Rule 41(b)).




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                                              ARGUMENT

     I.   The Court should dismiss the action under Rule 41(b) because there is a clear
          record of willful conduct, and any lesser sanction would be inadequate.

          Rule 41 of the Federal Rules of Civil Procedure “appears in that part of the Rules

   concerned with trials[.]” Societe Internationale Pour Participations Industrielles Et

   Commerciales, S. A. v. Rogers, 357 U.S. 197, 207 (1958). Rule 41(b) provides that “[i]f the

   plaintiff fails to prosecute or to comply with these rules or a court order, a defendant may move

   to dismiss the action or any claim against it.” Fed. R. Civ. P. 41(b). The default is that such a

   dismissal “operates as an adjudication on the merits.” See id. For dismissal under Rule 41(b),

   “[t]here must be both [1] a clear record of willful conduct and [2] a finding that lesser sanctions

   are inadequate.” Aguilar v. United Floor Crew, Inc., No. 14-CIV-61605, 2015 WL 2415421, at

   *7 (S.D. Fla. May 21, 2015) (Bloom, J.) (quoting Zocaras, 465 F.3d at 483).

          Additionally, Rule 41 does not divest the Court of its inherent authority to manage its

   docket, as the Supreme Court made clear in Link v. Wabash R. Co., 370 U.S. 626, 630 (1962)

   (concluding that Rule 41 did not “abrogate the power of courts, acting on their own initiative, to

   clear their calendars of cases that have remained dormant because of the inaction or dilatoriness

   of the parties seeking relief”). District courts are “necessarily vested” with the power “to manage

   their own affairs so as to achieve the orderly and expeditious disposition of cases.” Id.

          A.      There is a clear record of willful conduct, based primarily on the SEC’s
                  continued refusal to comply with the Court’s Omnibus Order memorializing
                  the parties’ agreement not to introduce evidence of the New Jersey cases and
                  Gentile’s cooperation.

          As set out in detail below, the SEC’s actions amount to “willful conduct” in violation of

   the parties’ agreement, the Court’s Omnibus Order, and the Federal Rules of Evidence. To wit,

   the SEC has listed numerous documents that expressly referenc the New Jersey cases and

   Gentile’s cooperation, as well as documents that will require Gentile to testify about his


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   cooperation to provide context. In addition to these two categories, Gentile’s counsel have

   identified approximately 40 additional exhibits for which no basis exists to admit the documents.

                  1.      The SEC has included 21 exhibits on its exhibit list referencing
                          the prior DOJ and SEC investigations and Gentile’s
                          cooperation dozens of times.

          Notwithstanding the parties’ stipulation and two written orders barring the SEC from

   discussing the prior DOJ and SEC investigations and Gentile’s cooperation from 2012 to 2015

   on behalf of the FBI, DOJ, and SEC, the SEC has nonetheless included 21 exhibits on its exhibit

   list expressly referencing the investigations and Gentile’s cooperation. See SEC Exs. 11, 25, 64,

   67, 68,3 80, 104, 105, 106, 107, 132, 133, 134, 141, 142, 144, 152, 153, 276, 280, 285.4 Burying

   them in lengthy exhibits, the SEC seeks to backdoor these statements by introducing emails,

   online comments buried in lengthy documents, deposition testimony referencing the

   investigations and cooperation, the SEC’s 2016 complaint, and the Judge Linares opinion

   dismissing the New Jersey case on statute-of-limitations grounds. The inclusion of these exhibits

   on the SEC’s exhibit list reflects the SEC’s disregard for the Court’s prior orders.

          As one example, like the SEC’s inadmissible “Ignite” post discussed in the Court’s

   Omnibus Order denying summary judgment, SEC exhibit 285 purports to be a screenshot capture

   by an SEC employee of a post on the website “Day Trade Review,” which has no known

   affiliation to SureTrader. The review, titled “SURETRADER BROKER REVIEW – AVOID

   THE PDT RULE,” purports to have been posted by “Dave” on February 22, 2018, and at the


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     Although exhibit 68 does not expressly mention the investigations, it is an email sent by Yaniv
   Frantz requesting removal of an article from a website falsely claiming that Gentile had been
   convicted of securities fraud based on his alleged involvement in two pump and dump schemes
   in 2007 and 2008.
   4
     As noted above, over the weekend the SEC has transmitted redacted copies of two exhibits. The
   redactions do not cure the issue, but instead would likely prompt a juror to research Gentile on
   her own and uncover the existence of the prior cases and his cooperation.


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   time of the screenshot had 0 views.[Ex. B, SEC exhibit 285]. The third sentence of the “review”

   (inadmissible on myriad grounds) says:

          As a division of Swiss Americas Securities, Ltd., SureTrader is overseen by CEO
          Guy Gentile, who in 2016 was charged by the Securities and Exchange
          Commission with penny stock manipulation schemes. The charges were
          dismissed in 2017.

   Similarly, exhibit 280, purporting to be a screenshot of “comments” on a thread posted on

   warriortrading.com, includes a post by “Joseph Bosco,” imploring “DO NOT open a Sure Trader

   account . . . The owner of Sure Trader, Guy Gentile was official charged with securities fraud by

   the US Attorney’s Office in 2016.” [Ex. C, SEC exhibit 280]. Exhibit 276 includes an excerpt of

   Gentile’s Wikipedia page describing in detail his cooperation on behalf of the FBI, DOJ, and

   SEC. [Ex. D, SEC exhibit 276]. In other more egregious examples, complete copies of the SEC’s

   2016 complaint against Gentile and Judge Linares’s decision dismissing that complaint can be

   found buried in lengthy exhibits. [Ex. E, SEC exhibit 105 at 10]; [Ex. D, SEC exhibit 106 at 11].

          The SEC also includes on its exhibit list more than half a dozen full deposition transcripts

   referencing the investigations dozens of times. A non-exhaustive list of the statements contained

   in deposition transcripts the SEC hopes to place before the jury has been attached as exhibits,

   which include the following:

          •   “Mr. Gentile aided and assisted not only the DOJ but the SEC in terms of all of this
              other stuff that was going on. Everything that he was doing benefited both your
              agencies.” [Ex. G, SEC exhibit 11 at 164].

          •   “You’re asking me whose money is this, I’m telling you my understanding and
              especially buttressed by the SEC, FBI, and the DOJ utilizing SureTrader to go after
              targets and get criminal convictions of people.” [Ex. G, SEC exhibit 11 at 165].

          •   “There had been news that Guy Gentile had been indicted . . .” [Ex. H, SEC exhibit 25
              at 25].

          •   “Q. Do you know if any of the conversations that you heard between 2012 and 2015
              where Mr. Gentile was on the phone with people that you testified yesterday, whether
              he was talking to FBI agents? A. I cannot say if he was talking to FBI agents. There


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               was . . . actually a few conversations, where he was referring to me and it sounded as
               if he was talking to regulators.” [Ex. I, SEC exhibit 132 at 174].

           •   “[W]hen I spoke to the regulators – SEC, DOJ, FBI – with my lawyer present, and
               I’m explaining to them the entire operation of the firm, they specifically told me to
               maintain a relationship with Nathan Michaud. Several months later, they asked me to
               go to Timothy Sykes’ penny stock conference in Las Vegas. They wired me up and
               they asked me to do recordings against Nathan Michaud and several other targets that
               the government had.” [Ex. J, SEC exhibit 134 at 141].

           •   “He did mention also on the website about Guy’s SEC pump and dump pending
               case.” [Ex. K, SEC exhibit 142].

                   2.      Nearly 20 additional exhibits included on the SEC’s exhibit list
                           and a substantial amount of testimony the SEC intends to elicit
                           at trial can only be understood by reference to Gentile’s
                           cooperation and undercover work on behalf of the government
                           from 2012 to 2015.

           In addition to these 21 exhibits expressly referencing the investigations and Gentile’s

   cooperation, another nearly 20 exhibits as well as a substantial amount of the testimony the SEC

   seeks to introduce at trial and through deposition transcripts, can only be understood by or will

   likely elicit reference to Gentile’s cooperation. See, e.g., Exs. 2, 26, 43, 46, 47, 52, 55, 56, 58, 61,

   72, 132, 134, 141, 144, 152, 153, 160. During the course of Gentile’s cooperation for the FBI,

   DOJ, and SEC from 2012 to 2015, he (i) attended over 50 meetings with targets of

   investigations, (ii) authored thousands of emails to targets, (iii) authored thousands of text

   messages to targets, (iv) attended over 50 meetings with government officials, including:

   Southern District of New York prosecutors and FBI agents, District of New Jersey prosecutors

   and FBI agents, Royal Mounted Canadian Police, and the Securities and Commission, and

   (v) made hundreds of recorded phone calls to over 25 potential targets, subjects, and/or

   witnesses. Given the intensity of his work as an informant and the importance of the cases he

   was assisting with, Gentile was repeatedly instructed to maintain the status quo at SureTrader

   and not to do anything to arouse suspicion. In particular, he understood that maintaining



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   SureTrader as a lawfully operating foreign broker dealer accepting U.S. clients was essential to

   his assistance in ensnaring securities violators. In other words, many of the documents and

   much of the testimony the SEC seeks to introduce regarding events between 2012 and 2015

   require understanding the context of the depth of Gentile’s cooperation to understand the actions

   he was taking.

          As chronicled in an affidavit detailing his work as an informant (submitted by Gentile in

   support of his motion to dismiss the 2016 Indictment), his cooperation included cooperating

   against a Russian national, but Florida resident, he had identified and developed a relationship

   with who had been engaging in a sophisticated high-speed international stock trading scheme

   that involved the use of traders from around the world who would enter buy or sell orders and

   then quickly cancel them, a scheme known as layering or spoofing. [Ex. A, Gentile affidavit].

   That individual’s scheme was generating as much as $50 million in illicit profits per month. The

   Russian national, but Florida resident, was ultimately indicted after Gentile set up multiple

   meetings with this individual at his Bahamian broker-dealer and persuaded him to set up an

   account at SureTrader where he his trades would be anonymous and undetected while being

   provided with the cover of trading through a broker-dealer in full compliance with U.S.

   registration exemptions. Id.

          The DOJ press release touted the Indictment of this individual as the “First Federal

   Securities Fraud Prosecution Involving ‘Layering’.” [Ex. L, DOJ press release]. The press

   release identifies Assistant U.S. Attorneys Gurbir Grewal and Nicholas Grippo (both of whom

   now appear on the SEC’s witness list in the instant case) as the representing the government and

   notes that Milrud relied on the assistance “of an individual who owned an off-shore broker-

   dealer (the Foreign-BD) but who, unbeknownst to Milrud, was a cooperating witness (“CW”)




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   with law enforcement.” [Ex. L, DOJ press release at 2]. That was Gentile. It goes on to explain

   that Milrud “sought to open a trading account at the Foreign-BD for use in his layering scheme”

   and describes recorded meetings in the Bahamas between Milrud and the CW [Gentile]. [Ex. L,

   DOJ press release, at 2]. The SEC’s parallel complaint against Milrud also contains allegations

   about his meetings “with the owner of an offshore brokerage firm” (SureTrader) to “explore the

   possibility of engaging in layering through an account at the Broker’s offshore firm. Complaint

   at 16-17, 26-27, SEC v. Aleksandr Milrud (D.N.J. 2015) (No. 15 Civ. 237) [Ex. M].

          The SEC seeks to introduce nearly two dozen exhibits, deposition transcripts, and live

   testimony that either reference or can only be explained in reference to Gentile’s cooperation.

   For example, these documents include emails about and invoices from 2014 between SureTrader

   and U.S. based educational website whom which Gentile understood he needed to maintain the

   status quo and avoid arousing suspicion during his cooperation. [Ex. N, SEC exhibit 46]; [Ex. O,

   SEC exhibit 72]. They also include alleged customer lists that include targets of FBI and SEC

   investigations. [Ex. P, SEC exhibit 61] Similarly, the SEC seeks to introduce the deposition

   testimony of Philip Dorsett, regarding conversation he had with Gentile concerning U.S.

   regulations [Ex. Q, SEC exhibit 141 at 32] as well as cryptic testimony about conversations in

   which Dorsett purportedly overheard Gentile speaking to “regulators”:

          So Guy would – would be saying something loudly and he’d know like I’d hear
          him. So sometimes I would turn around and hear it, and he would give me the
          thumbs up to be like yeah, we got this one, or this, and this . . . . The one or two
          times that Guy spoke quietly those were odd. And it’s interesting. As we talk I’ll
          probably talk more about that. There was a difference when Guy was just talking
          to some sort of like business partner than when he was talking, perhaps, like a
          regulator, or a lawyer, or something like that.

   [Ex. Q, SEC exhibit 141 at 42]. Dorsett also repeatedly testified about SureTrader’s relationship

   with Timothy Sykes, which developed after the FBI instructed Gentile to attend the Sykes

   conference to record a target of a securities fraud investigation. Dep. of Phillip Dorsett at 30:20;


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   38:6,12,16; 45:11,12,20; 50:12; 61:6,7; 65:3; 68:24; 69:1; 134:25; 135:3,18,22,23; 136:1,3 (Feb.

   27, 2023); Dep. of Phillip Dorsett at 61:9; 114:24; 115:9, 10; 117:17; 126:21; 182:3, 7, 10, 23;

   183:10, 22; 184:2; 258:21 (Feb. 28, 2023). SureTrader’s relationship with Sykes was formally

   terminated (with the knowledge of the FBI, DOJ, and SEC) by Sykes in 2014, although the SEC

   seeks to introduce testimony of Dorsett as well as Yaniv Frantz suggesting that SureTrader used

   Sykes to solicit U.S. customers between from 2016 to 2018. Id.

          B.      Any sanction short of dismissal would not be sufficient.

          To grant dismissal in these circumstances, the Court must conclude that any other

   sanction would not be sufficient, but “the district court’s finding can be explicit or implicit.”

   Murphy for Ellen C. Price Tr. v. Hurtado, No. 16-23562-CIV-KMW, 2017 WL 7794279, at *3

   (S.D. Fla. Sept. 20, 2017). Given the numerous instances described above, Gentile is concerned

   there is a significant danger that, even if the offending exhibits are excised from the SEC’s

   exhibit list or otherwise excluded at trial, one or more of the SEC’s witnesses will “directly

   testif[y] about evidence that [has] been excluded in the presence of the jury.” See Bonet v. Now

   Courier, Inc., 203 F. Supp. 3d 1195, 1204–06 (S.D. Fla. 2016) (dismissing “case with prejudice

   as a sanction under Federal Rule of Civil Procedure 41”).

          Furthermore, in addition to the issues concerning the myriad SEC exhibits that reference

   the New Jersey cases and Gentile’s prior cooperation, many if not most of the remaining 286

   exhibits are plagued by various other issues that render them admissible. Counsel for Gentile

   have raised these issues with the SEC multiple times and likewise expended considerable

   resources reviewing these exhibits. For example, as of writing, the SEC has not provided counsel

   for Gentile a declaration explaining how the mass of documents the SEC allegedly received from

   the Securities Commission of the Bahamas, who allegedly received them from SureTrader some-

   time before the filing of the Complaint, can be authenticated at trial. The same holds true for the


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   documents purportedly provided by SureTrader to the Joint Official Liquidators and then turned

   over to the SEC. That is notwithstanding the Court’s June 3, 2024 ruling:

          Without more, the JOLs letter is not sufficient to support a finding that documents
          Plaintiff seeks to introduce are “what the proponent claims” they are. Fed. R. Evid.
          901(a). The SEC does not point the Court to the methods of authentication or
          identification listed under Rule 901(b) or other methods to authenticate the JOLs or
          the SCB documents, nor does it attach a certification under Fed. R. Evid. 803(6)(E)
          to justify its position that the documents should be deemed authenticated.
          Accordingly, Plaintiff’s request to introduce documents provided by JOLs and the
          SCB to Plaintiff without further authentication is denied.

   See Ord. on Mot. Clarification 3 [ECF No. 272]; see also id. at 4 (“The determination as to which

   documents obtained by Dorsett and Frantz can be introduced at trial and how they should be

   authenticated will be made at trial and depend on the document at issue.”).

          Judge Ryskamp’s decision in Ulysse v. Waste Management Inc., No. 11-CV-80723, 2014

   WL 11429061 (S.D. Fla. Jan. 10, 2014), is instructive. Among other things, the court “found that

   Plaintiff’s [exhibit] list did not comply with the Court’s Scheduling Order and that Plaintiff acted

   in bad faith ‘in submitting useless exhibit and witness lists and delaying and disrupting the

   litigation as a result.’” Id. at *3 (citation omitted). Judge Ryskamp struck the plaintiff’s exhibit

   list and dismissed the action with prejudice. Id. at *3–4.

          Here, the SEC’s conduct regarding its exhibits has generated extraordinary amounts of

   unnecessary work in the lead-up to—and on the eve of—trial. And Gentile rejects the notion that

   any lesser sanction and a continuance of the trial date for the SEC to streamline its case would be

   appropriate. See id. (“Plaintiff’s failures cost Waste Management and the Court time, expense,

   and resources, resulting in perpetuated motion practice and the continuation of trial. At some

   point, the Court must draw the line. That time is now.”). The prejudice to Gentile of further delay

   is evident. See Goforth, 766 F.2d at 1535 (“As any further delay would have greatly prejudiced

   defendants, a lesser sanction than dismissal would not have served the interests of justice.”).



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          The SEC’s conduct affects “not only the instant case but also the Court’s ability to

   manage the rest of its heavy trial docket.” See Versage v. Marriott Int’l, Inc., No. 6:05-CV-

   974ORL19JGG, 2006 WL 3614921, at *3, *7 (M.D. Fla. Dec. 11, 2006) (“The Court finds that

   no sanction less than dismissal will suffice in this case.”); see also Equity Lifestyle Props., Inc. v.

   Fla. Mowing And Landscape Serv., Inc., 556 F.3d 1232, 1240 (11th Cir. 2009) (“The power to

   invoke this sanction [of dismissal] is necessary in order to prevent undue delays in the

   disposition of pending cases and to avoid congestion in the calendars of the District Court.”

   (citation omitted)).

          If the Court is not inclined to grant dismissal, in the alternative, Gentile respectfully

   moves the Court to strike, prior to trial so as to streamline the parties’ cases, Exhibits 1–3, 6–7,

   10–11, 16–17, 21, 25–26, 35–38, 43–47, 50, 52, 55–56, 58, 61–62, 64, 67–68, 72, 80, 96–100,

   102–111, 113, 116–17, 120–24, 132–35, 141–42, 144–47, 150, 152–154, 156–160, 276, 278–

   281, 285).

          C.      Alternatively, the Court should dismiss the action under Rule 16(f), which
                  does not require a finding of “bad faith,” but authorizes dismissal where a
                  party’s conduct unreasonably delays or otherwise interferes with the
                  expeditious management of trial preparation.

          Rule 16(f) of the Federal Rules of Civil Procedure similarly contemplates dismissal of an

   action when a party “fails to obey a scheduling or other pretrial order.” See Fed. R. Civ. P. 16(f)

   (citing Fed. R. Civ. P. 37(b)(2)(A)(ii)–(vii)).5 In a thoughtful and thorough opinion, Judge

   Goodman concluded that a district court can “probably impose sanctions under Rule 16(f)

   without a finding of bad faith.” In re Sanctions Hearing: Remer, No. 11-23592-CIV, 2012 WL

   12888409, at *10 (S.D. Fla. Dec. 20, 2012), report and recommendation adopted sub nom.


   5
    Rule 37(b)(2)(A)(v) authorizes the Court to “dismiss[] the action or proceeding in whole or in
   part[.]”


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   Dammar-Fletcher v. Baptist Health S. Fla., Inc., No. 12-2298-CIV, 2013 WL 12131602 (S.D.

   Fla. Jan. 11, 2013) (Graham, J.).

          Judge Goodman cited Wright & Miller and collected out-of-circuit cases for the

   proposition that “[i]n deciding to order Rule 16(f) sanctions, some authorities hold that the court

   need not find that the party acted in bad faith.” Id. at *8 (citations omitted). And he also

   observed: “Other district judges in this circuit have . . . imposed Rule 16(f) sanctions against

   attorneys without an explicit bad faith finding.” Id. The Eleventh Circuit’s decision in Goforth

   “provides some additional support for the conclusion that bad faith may not be necessary for a

   Rule 16(f) sanction,” and “[o]her district judges in this circuit have also imposed Rule 16(f)

   sanctions against attorneys without an explicit bad faith finding.” Id. at *9.

          Here, for the reasons above, Gentile maintains there is a clear record of delay and willful

   contempt of the Court’s Omnibus Order by the SEC, and accordingly the Court may dismiss the

   action under Rule 41(b) or its inherent authority. But assuming arguendo the Court does not

   agree the SEC’s conduct has reached that level, at the least the conduct has needlessly

   “interfer[ed] with the expeditious management of trial preparation,” justifying dismissal under

   Rule 16(f). See Goforth, 766 F.2d at 1535 (citation omitted).

    II.   Gentile seeks attorney’s fees for time spent reviewing the SEC’s 286 exhibits to
          identify instances of material that is inadmissible under the parties’ agreement, the
          Court’s Omnibus Order, and the Federal Rules of Evidence and for time spent
          preparing this Motion.
          To the extent the Court were to dismiss the action, it may also award attorney’s fees and

   costs. See 28 U.S.C. § 1927 (“Counsel’s liability for excessive costs”); Fed. R. Civ. P. 16(f)(2)

   (“Instead of or in addition to any other sanction, the court must order the party. . . to pay the

   reasonable expenses--including attorney’s fees--incurred because of any noncompliance with this

   rule, unless the noncompliance was substantially justified or other circumstances make an award



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   of expenses unjust.”). At the Court’s invitation, counsel for Gentile are prepared to submit

   records detailing their time spent in connection with this Motion.

          Finally, it is worth noting that, less than two weeks ago, Judge Shelby of the District of

   Utah awarded approximately $1.8 million in attorney’s fees against the SEC after previously

   finding that SEC staff attorneys there had “engaged in bad faith conduct in obtaining and

   defending [a] TRO.” SEC v. Digital Licensing Inc., No. 2:23-CV-00482-RJS-DBP, 2024 WL

   2728019, at *1 (D. Utah May 28, 2024). Judge Shelby “imposed a sanction against the

   Commission of all attorney fees and costs arising from the improvidently entered ex parte

   relief.” Id. Gentile does not suggest that the conduct here is to the same as the conduct on display

   in the Utah litigation, yet it shows the same level of disregard for the judicial process.

                                             CONCLUSION

          As Gentile has noted in prior filings, last year Justice Gorsuch observed: “Aware . . . that

   few can outlast or outspend the federal government, agencies sometimes use this as leverage to

   extract settlement terms they could not lawfully obtain any other way.” Axon Enter., Inc. v. FTC,

   598 U.S. 175, 216 (2023) (Gorsuch, J., concurring). In that case, the Justice lamented an example

   of what some commentators and scholars have dubbed “regulatory extortion” when describing an

   individual’s saga with the SEC that had “already dragged on for seven years.” Id. & n.14.

          The “saga” between the SEC and Gentile is even older. It has caused Gentile to incur

   significant legal fees and has exacted an immense toll on his personal life, imposed de facto

   injunctive relief even after such relief was repeatedly rejected by judges in New Jersey, to say

   nothing of the resources expended by the SEC, and the resources required of the courts. Gentile

   respectfully requests the Court dismiss this case.




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   Dated: June 10, 2024               Respectfully submitted,

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                                 CERTIFICATE OF CONFERRAL

           Pursuant to Local Rule 7.1(a)(3), the parties have met and conferred on the issues raised

   above numerous times, including but not limited to email exchanges, as well as videoconference

   meet-and-confers on May 22, 2024, and June 4, 2024. On June 9, 2024, the undersigned emailed

   counsel for the SEC a list of exhibits and requested the SEC remove them from its exhibit list,

   advising that failure to do so would result in Gentile filing the instant motion for involuntary

   dismissal. This morning, counsel for the SEC responded that they would not remove any exhibits

   from their list.


                                                                          /s/Matthew A. Ford
                                                                         Matthew Aaron Ford
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I caused the foregoing Defendant Guy Gentile’s Defendant Guy

   Gentile’s Motion for Involuntary Dismissal under Rule 41, the Court’s Inherent Authority, and

   Rule 16, dated June 10, 2024, to be served via CM/ECF on the following counsel for Plaintiff:

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                                                                      /s/Gabriela Ruiz
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